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                   EXHIBIT 20
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                                                           Questions




  Fwd: Questions



    ---------- Forwarded message ----------
    From: Craig S Wright <craig@rcjbr.org>
    Date: Wed, Apr 23, 2014 at 8:56 PM
    Subject: RE: Questions
    To: Ira K
    Cc: Andrew <asommer@claytonutz.com>



    Ira,

    Andrew can give you a good idea of the history. The problems we have faced come to knowledge of what we have
    been doing. The Tax oﬃce know that Dave and I have been working on this since 2008.



    Next week (Tuesday) I am a ending a session to help people at the senior commission/commissioner level in the tax
    oﬃce come to terms with Bitcoin. I have been dragged before the Federal Police to teach them, state police, treasury.



    I am being made to know my place.



    The so ware Dave updated and which I have transferred back in OUR company, and it is OURs as you are Dave’s heir,
    was done at a zero tax level. This is all good under the law. Basically, the GST (like a Vat) cancels as it is an
    interna onal transfer. That stated, they can s ll use it as a means to make sure I am in my place.



    The way this is working is,

    ·      WK to me                  Interna onal and NO GST (all good)

    ·      ME to company            GST cancels



    In this, I have a GST debt, the company has a gain. On the so ware from WK to Coin-Exch, I have an overall GST debt
    owed of $3.7 million (give or take). The company gets a return of 3.7 million. The net outcome is zero tax as they
    cancel.



    What the tax oﬃce can do is use this and hold payments back to the company. They are trying to ﬁsh. They want
    informa on that they are not legally en tled to have. So far, they have fabricated documents (and been caught), used
    half-truths to make it seem as if things are wrong to others and more.



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    One issue they have is that I will be reinves ng all of what I get for now. This means I do not pay taxes as I will be
    taking the gain and spending it exclusively on deduc ble areas that will grow the business. I live on an income less
    than half my staﬀ but it is enough. What does ma er is that by doing this, we can create something.



    I will send you a meline of events this weekend.



    I do not know what your views are, but you will learn some more of Dave and I. I s ll do a lot of work with Casinos,
    Sport Be ng and other gaming ﬁrms. Some of this is not really legal within the US, hence Panama. Much of that
    secrecy comes from the fact that the US government would have closed what we did down as well if they could have,
    gaming would have been a great excuse to kill oﬀ Bitcoin. The thing is, it paid the bills. I do not gamble myself at all,
    but the guys who run these sites pay well and we needed funds.



    Dave took the 2 million lines of code that had in 2010 and transformed these into a documented set of over 6 million
    lines of code. I have sent the so ware analysis to you already.



    I have told you I would answer anything, but it is perhaps me I start just telling you everything.



    Craig



    From: Ira K [mailto:
    Sent: Wednesday, 23 April 2014 7:37 PM
    To: Craig S Wright
    Subject: Re: Questions



    i'd better get some sleep.. it's 5:30am here.



    goodnight.



    On Wed, Apr 23, 2014 at 5:35 AM, Ira K                                    wrote:

    alright, thank you.



    On Wed, Apr 23, 2014 at 5:33 AM, Craig S Wright <craig@rcjbr.org> wrote:

       Ira, when I oﬀered to tell you everything and involve you, I was serious.



       I have told the solicitor (a orney) that you are able to ask anything. I do mean that.



       Not just half-truths that others with agendas will state, but ANYTHING.
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                                                          Questions




       From: Ira K [mailto:
       Sent: Wednesday, 23 April 2014 7:32 PM
       To: Craig S Wright
       Subject: Re: Questions



       alright, thanks for explaining things.



       On Wed, Apr 23, 2014 at 5:31 AM, Craig S Wright <craig@rcjbr.org> wrote:

       You will have it in the morning.



       From: Ira K [mailto:
       Sent: Wednesday, 23 April 2014 7:30 PM
       To: Craig S Wright
       Subject: Re: Questions



       yes, thanks.



       On Wed, Apr 23, 2014 at 5:29 AM, Craig S Wright <craig@rcjbr.org> wrote:

       I will put a spread sheet together that lets you see the impact of taking money early vs later tomorrow if this is OK?



       Yearly amounts

       500k, 1mill,… ,4 million.



       From: Ira K [mailto:
       Sent: Wednesday, 23 April 2014 7:20 PM
       To: Craig S Wright
       Subject: Re: Questions



       Would it be possilbe to sell just 1 year of my holdings and keep the rest?



       On Wed, Apr 23, 2014 at 5:15 AM, Craig S Wright <craig@rcjbr.org> wrote:

       And if it does work (and I believe it will) we change the world in a manner that has not been seen for a long me –
       even more than the Internet



       From: Ira K [mailto:
       Sent: Wednesday, 23 April 2014 7:05 PM
       To: Craig S Wright
       Subject: Re: Questions

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       If I stay the course Dave's estate is guaranteed 8 million in 2016?



       or is that with risk?



       On Wed, Apr 23, 2014 at 4:58 AM, Craig S Wright <craig@rcjbr.org> wrote:

       He ran W&K



       Uyen only started to help in Dec 2012 and we never completed moving things.



       I moved everything in 2011 to Dave as I needed the development to be at “arms length”. I could not be directly
       involved in it



       I thought Dave would live forever. I know, a bad error.



       From: Ira K [mailto:
       Sent: Wednesday, 23 April 2014 6:52 PM


       To: Craig S Wright
       Subject: Re: Questions



       Why did you choose to let him hold a seperate bitcoin wallet that you didn't have access to?

       I thought all these assets belonged to W&K.



       On Wed, Apr 23, 2014 at 4:46 AM, Craig S Wright <craig@rcjbr.org> wrote:

       Denariuz will license from Coin-Exch.



       The license will be paid is shares and the company will be owned by Coin-Exch over me. Trying to do it in a
       manner that is interna onally tax advantageous.



       Basically, I am not avoiding tax, but trying to make sure that we create a structure like Google uses to make the
       amount we pay as small as possible.



       From: Ira K [mailto:
       Sent: Wednesday, 23 April 2014 6:45 PM
       To: Craig S Wright
       Subject: Re: Questions

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       and Denariuz?



       On Wed, Apr 23, 2014 at 4:43 AM, Craig S Wright <craig@rcjbr.org> wrote:

       Ira,

       I do not know what you have been led to believe. But I am not trying to take anything from Dave’s estate.



       The eLearning program is to create a new form of MooC. The idea is to have large scale adap ve learning to the
       world. Nearly free.



       From: Ira K [mailto:
       Sent: Wednesday, 23 April 2014 6:32 PM
       To: Craig S Wright
       Subject: Re: Questions



       I'm certainly not going to do anything to stifle the growth of the business you and he worked

       so hard at.



       On Wed, Apr 23, 2014 at 4:14 AM, Craig S Wright <craig@rcjbr.org> wrote:

       Ira,

       I have sold all the BTC that I plan to sell for now. In doing what we wanted to do, Dave and I arranged for the sale
       or around 500,000 BTC so that we could have access to Core Banking so ware. The rest that I hold are in trust. The
       terms of that trust are not met as yet and hence if I was to break it, I would also cause the tax liability to fall and
       that would result in over 50% of the total being owed in taxes – a result that would drop the price to about nothing
       and leave nothing. I will not do that. I will not collapse years of work for anyone or anything.



       Dave and I decided to start Coin-Exch so that we could lock in some of the value. When we started planning this, it
       was late 2012. We locked in the value of the so ware based on the price of BTC then, which was less than now and
       if it was a year later we would have been smarter, but we took the op on to cash out. That was Dave. If we had
       waited even 3 months the value would have been 5 mes more.



       No, I am not doing this as I think it is going to make me a trillionaire. I am working to make a system that is fraud
       resistant. One that does not allow prin ng money and frac onal reserve banking. No inﬂa on and no federal
       reserve BS.



       If you read the terms of the Judgement from the court, I did not receive Dave’s Bitcoin. I accepted the so ware
       Dave was developing for me. We had already exchanged this before he died. It is so ware that I started working on
       in 2003. Dave completed it for me a er we split things up. He did this contrac ng other people.


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       I locked in the R&D amounts based on Dave’s convincing me that was best. I am willing to take risks far more than
       him, but to me, this will work or I will die trying.



       I thought Dave just wanted to have some me to work less. That he was planning on taking some me oﬀ and
       doing some relaxing and travel. He told me repeatedly that he was ﬁne. He said the VA Hospital was covered as he
       was a vet. He said that he was all good. He wanted some cash to be able to do some other things he planned and
       we did talk about the exoframe idea. I convinced him that we could make it to Oct 2014 when if he needed we
       could take some of the R&D money that comes as a rebate on what has been expended and we could both spend a
       li le me on us me.



       I told him again and again that the wait is worth it. I gave him the ﬁgures and stated that he could have sold the
       amount I would leave him with. I wanted the so ware. That is what this is and always was about for me. With it, I
       can complete what I have worked on for 11 years now.



       My eggs are not all in one basket. They are now ed to the Research funding as well.



       I did the court ac on to ensure that the value was accepted. Not to force you, the estate etc into giving me
       anything, but to ensure I had a value against the so ware that I had received already.



       I assume you know nothing of how Dave funded W&K?



       I sell myself to gaming companies. I am a security professional, cryptographer and programmer. I wrote so ware
       and designed systems that created and became Lasseter’s OnLine Casino. I worked with Playboy Casino. I did
       coding for Centrebet, Spor ng Bet, BetLife etc.



       In 2010 I gave the source code for a good number of online casinos to Dave. Hence Panama. I put him in contact
       with the people at Playboy. He used this code to fund the work, research etc.



       I have ﬁles of Dave’s that I cannot access now. These are TrueCrypt par ons. We held backups for the other, but
       no passwords. I cannot access these. If I cannot ﬁnds a key or a password on these, I do not believe that I can on
       yours. Dave was smarter than I was in some ways. He broke his wallets into many 50BTC sized addresses. I le
       several large addresses that are not easy to move without making the world no ce.



       Dave estate is only worth 12 million IF you want to cash out right now.

       IF you stay, you get the value AND the shares.

       I will list these in coming years and THEN they are worth more.



       “Craig's worth valued at $500 million”
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       There is a trust as I noted. Less than 200,000 Bitcoin remain. We need 100,000 to make the bank idea work. I
       cannot touch these yet even if I want to. And right now, I do. That stated, I will not move more now in any event.
       Dave held more and MtGox held some. I see both those sources as lost. Dave’s drives are a one day possible. Each
       year, it is possible to crack more than double the key length that was previously possible. What I know of Dave’s
       passwords places them at around 80 bits. We can expect them to be worth trying to crack in 10-12 years. Spending
       the next 5 years on this is going to cover 5-10% of the possibili es at a large cost. This is how crypto works.



       What company owns right now is:

       ·       So ware – incl source code and perpetual licenses valued at over $50 million.

       ·       Intellectual Property, design, codes etc

       ·       Research claims



       If we reinvest the Research rebates, we get 45% back in the following year. The program has been approved for
       three years and locked in using an advance ﬁnding. This means, if we take the exis ng spend, we will get the
       following each October:

       ·       2014      $12 million base

       ·       2015      $12 million base plus the 45% from 2014 reinvested = 17.4 million

       ·       2016      $12 million base plus 45 % of the 17.4 Million (prior year reinvested) = $20 Million

       That comes to around $50 million cash over three years. Of this, I will drive 30 million back into the company and
       leave the last return as a wait and see if this all fails.



       In 2016, Dave’s estate gets 8 Million PLUS s ll has a share of the company.



       IF you want, I will arrange that you can pull out. In this case, the following occurs:

       •          2014      $12 million base – 4 million to Dave’s Estate a er costs plus 4 million from share sale (well I will
       try).

       •       2015     $12 million base plus the 45% from 2014 remaining million reinvested = 17.4 million and 4 million
       to Dave’s Estate a er costs.

       •       2016     $12 million base plus 45 % of the 17.4 Million (prior year reinvested) = $20 Million with 4 million
       to Dave’s Estate a er costs.



       Here, in 2014, 2015 and 2016 the estate gets $4 million a year, but that is it.



       If you do the la er op on – I will raise funds to cover the shor all using your shares, so I end in the same posi on
       expenditure wise.




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       You can be a part of it and get paid. I oﬀered this already.



       You are talking of greed to me. Right now, I have told you that you can cash out at 4 million a year for three years
       or see where this goes and have a payment of over 8 million plus a large share of what will be a listed company.
       That is with risk. 12 Million without.



       W&K used my so ware to fund everything.



       If you think I will give up the so ware I have received from this and pull what Dave and I have worked years to put
       together you are mad. I will make this open source before I end it. If that happens, nobody makes anything. Not
       me, not you , no one.



       I am working on this no ma er what. The amounts are locked in ONLY because of Dave. He wanted certainty. He
       wanted to make sure we had something now. I did this and have structured it so that we have this money now. We
       did this early and the increase in BTC has been a loss really.



       The so ware (including banking so ware) has cost over 50 million alone. When I contracted for it, it was when BTC
       was worth $116.



       IF Dave and I did not start this when we did and waited 6 months (not that Dave could have) we could have used
       10% of the Bitcoin we held to do this. So, NO I will not move more now. If you get access to Dave’s drives, then you
       can move those. I am not in a rush. In the next few months, the company will get money in AUD$ and I will STILL
       not be taking it other than to repay bills used in this process.



       When Dave and I planned this, the ENTIRE holding, his, mine and that in trust was worth 20 million.



       What Craig is worth in 10 years is up in the air, but I WILL drive 99% of this (my share) back into the project. What
       you do is your choice. I will nego ate this, I will allow you to work with it as Dave’s heir, but I WILL NOT give it up.



       So Ira, the simple thing is do you want to be a part of it or to be paid out. I have spent the money. If you want, ﬁght
       me and have a copy of so ware that will be of li le use without the parts we have completed since.



       ALL I have is in this. EVERYTHING. If you want to not be a part, then I will provide Dave’s estate with its due. If you
       want to be a small part, then be a small part, if you want to be all in, then work as if you are.



       There are no other op ons. Unless you can access Dave’s drive, then the BTC Dave held remain locked away. The
       ones I spent in doing this are spent and there is NO way to unspend them. The ones in trust are there for a purpose


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       and I selected a jurisdic on that cannot be forced to give them over. Not even if the US government tries to make
       me.



       So, as I have been saying, do you want to be a part of this? This is either as a silent shareholder or as a director. I
       have oﬀered both. Or do you want to argue the point? There is no more to get and if you know my history, I will
       make sure that everything ends up completely worthless before I lose what I am doing.



       Ave did not want to ta $4million a year from this. He wanted something to live on. He never asked for more. I am
       not taking that much, but that is YOUR choice. There are op ons, but one thing I will not do is give over the
       so ware or end this.



       Dave bullshi ed me about how he was doing and worked himself ragged. He lied to me about what he needed.
       There is NO WAY that I am stopping this now. I owe this to Dave and I will NOT give it up even to make Ramona’s
       life simpler and I love her.



       So, do you wan to know more and be involved or do you want to argue it and I will end up making it completely
       open source if I lose and then in place of the share I agreed with Dave you can have 100% of $0.



       Craig



       From: Ira K [mailto:
       Sent: Wednesday, 23 April 2014 3:38 PM


       To: Craig Wright
       Subject: Re: Questions



       Please explain to me what is stopping you from selling some?

       Just because you think it will be worth trillions?



       On Wed, Apr 23, 2014 at 1:37 AM, Ira K                                    wrote:

       It's not a matter of not believing in your abilities. I absolutely do.



       But that doesn't mean something shouldn't be taken off the table.

       Just like trading stocks, you have to know when to take a profit

       and let the rest ride. No need for all eggs in one basket.



       On Wed, Apr 23, 2014 at 1:33 AM, Craig Wright <craig@rcjbr.org> wrote:

       And yes. Worst case
https://mail.google.com/mail/?ui=2&ik=ccbe4c253f&jsver=eqR4NK8aFo8.en.&view=pt&msg=161928d4dd12fa62&search=inbox&siml=161928d4dd12… 9/21
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       On 23/04/2014 3:31 pm, "Ira K"                                   wrote:

       I am trying. But from what I understand so far, you are placing his value

       in a gambled situation and worst case scenario, 12 million?



       On Wed, Apr 23, 2014 at 1:28 AM, Craig Wright <craig@rcjbr.org> wrote:

       Before you go off on rash paths.... Try ans understand what. Is therre

       On 23/04/2014 3:24 pm, "Ira K"                                   wrote:

       54k of coins could be mined in a few months with your operation if you still have it running.

       Or your new venture's success will recoup this payment.



       On Wed, Apr 23, 2014 at 1:20 AM, Ira K                                    wrote:

       I don't understand your hesitancy. You know he was worth the amount I am asking.



       On Wed, Apr 23, 2014 at 1:19 AM, Ira K                                    wrote:

       I told you, I don't want to end up on the same sword as Dave.

       He had faith. It doesn't always pan out.



       On Wed, Apr 23, 2014 at 1:18 AM, Craig Wright <craig@rcjbr.org> wrote:

       Then have faith

       On 23/04/2014 3:17 pm, "Ira K"                                   wrote:

       He is worth more than that.



       On Wed, Apr 23, 2014 at 1:16 AM, Craig Wright <craig@rcjbr.org> wrote:

       Then take the 12 million and go

       On 23/04/2014 3:12 pm, "Ira K"                                   wrote:

       Look where it got Dave by holding on for too long.

       Timing is Everything.



       On Wed, Apr 23, 2014 at 1:11 AM, Craig Wright <craig@rcjbr.org> wrote:

       We locked them into cash payment s

       On 23/04/2014 3:09 pm, "Ira K"                                   wrote:

       I simply want the fair share that Dave earned.

       You told me you guys had 1 million bitcoins between you.




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       I was only asking for 54,910. and you could keep all

       his drives which may contain more.




       On Wed, Apr 23, 2014 at 1:04 AM, Craig S Wright <craig@rcjbr.org> wrote:

       Would you prefer to know what you own or to argue it



       You want assets list, balance sheets etc, then ask. You ARE a major shareholder.



       You want to be a director and know it in mately – ask I have oﬀered



       You want to pull out – then do so and I will pay you out based on what Dave and I had been arranging.



       If you want to stay, then do so and come to know more of what Dave and I did.



       From: Ira K [mailto                                ]
       Sent: Wednesday, 23 April 2014 2:56 PM


       To: Craig S Wright
       Subject: Re: Questions



       "You have the 40% of the refunds – I get any upside."



       Can you explain that to me?



       On Wed, Apr 23, 2014 at 12:54 AM, Craig S Wright <craig@rcjbr.org> wrote:

       In 10 years I believe this will be 100 mes bigger.



       But I am serious, if you want to cash out, I will arrange something on the cash




       From: Ira K [mailto:                               ]
       Sent: Wednesday, 23 April 2014 2:54 PM


       To: Craig S Wright
       Subject: Re: Questions
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       Why not take some off the table?



       On Wed, Apr 23, 2014 at 12:53 AM, Craig S Wright <craig@rcjbr.org> wrote:

       You agree to that – I will have the lawyers dra something for you to have reviewed



       I have NOT cashed out



       I will not



       From: Ira K [mailto:                               ]
       Sent: Wednesday, 23 April 2014 2:51 PM


       To: Craig S Wright
       Subject: Re: Questions



       I am open to arranging distribution of 10 million a year for 3 years,

       but not through a new untested business that you just stated "worst

       case scenarios 4 million".



       On Wed, Apr 23, 2014 at 12:48 AM, Craig S Wright <craig@rcjbr.org> wrote:

       This is WHY wed the so ware transfer!



       It locked in payments star ng in Oct this year of 10 million a year for 3 years – get it now!



       That was Dave – his idea



       We turn the BTC into R&D grants as cash!



       YOU ARE his estate – I have added you!



       From: Ira K [mailto:                               ]
       Sent: Wednesday, 23 April 2014 2:47 PM


       To: Craig S Wright
       Subject: Re: Questions
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       Dave would prefer to lock in secured gains that have already been made.



       On Wed, Apr 23, 2014 at 12:46 AM, Ira K <                                > wrote:

       There could be a new alternate crypto-currency that comes out and steals the thunder from Bitcoin

       and the new business goes bankrupt.



       On Wed, Apr 23, 2014 at 12:44 AM, Ira K <                                > wrote:

       It wouldn't matter if I had 100%. What if the business doesn't fly?



       On Wed, Apr 23, 2014 at 12:43 AM, Craig S Wright <craig@rcjbr.org> wrote:

       Ira – look at the balance sheet – you have 40% of the total worth in it



       Do you get that?



       NOT 10%



       From: Ira K [mailto:                               ]
       Sent: Wednesday, 23 April 2014 2:41 PM


       To: Craig S Wright
       Subject: Re: Questions



       I understand, but that is water under the bridge. We can't do anything about that now.

       But we can provide his estate with fair compensation for his assistance. If he was

       50% partner, or even 33% partner.. he would deserve more than 10% in a unproven

       business and undisclosed coins.



       On Wed, Apr 23, 2014 at 12:38 AM, Craig S Wright <craig@rcjbr.org> wrote:

       One issue that you have been fed half-truths on.



       And yes, there is a lot that is messy from the me. I had no idea Dave was as sick as he was. He told me he was on
       top of it all. I believed him.




https://mail.google.com/mail/?ui=2&ik=ccbe4c253f&jsver=eqR4NK8aFo8.en.&view=pt&msg=161928d4dd12fa62&search=inbox&siml=161928d4dd1… 13/21
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       He said it was just a small opera on and he would be up again soon, that we would present a paper in June that
       year. So, yes, lots that was missed.



       From: Ira K [mailto:                               ]
       Sent: Wednesday, 23 April 2014 2:35 PM


       To: Craig S Wright
       Subject: Re: Questions



       Like I said, that is just one issue.. there are so many more.



       On Wed, Apr 23, 2014 at 12:33 AM, Craig S Wright <craig@rcjbr.org> wrote:

       Check:

       ·     O o

       ·     O o Maurer



       It is the font



       Mine is an image



       All that makes it a signature is PGP



       From: Ira K [mailto:                               ]
       Sent: Wednesday, 23 April 2014 2:30 PM


       To: Craig S Wright
       Subject: Re: Questions



       It doesn't matter if you create a new font from scratch that looks exactly like the one on the contract.



       Each contract has signatures with variations. It is crystal clear to see.



       On Wed, Apr 23, 2014 at 12:23 AM, Craig S Wright <craig@rcjbr.org> wrote:

       I will need to dig through old emails and documents, but I can show it is a PDF type font.




https://mail.google.com/mail/?ui=2&ik=ccbe4c253f&jsver=eqR4NK8aFo8.en.&view=pt&msg=161928d4dd12fa62&search=inbox&siml=161928d4dd1… 14/21
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       http://www.adobe.com/content/dam/Adobe/en/products/acrobat/pdfs/adobe-acrobat-xi-esign-pdf-file-
       tutorial-ue.pdf



       That will take me and I will need to look up what font was in there when Dave did this. I will also dig up the PGP
       signature for you. Dave’s public key is out there on the web if you want to validate it.



       I assume you know that Dave would not give ANYONE his private key – that includes me.



       Andrew is a partner at Clayton Utz. I do not believe he will lie- for all people say about lawyers (sorry Andrew). Ask
       him – he has received the PGP singed versions.

       http://www.claytonutz.com/



       I will put all this together for you by the weekend. I will show the font (as noted I need to check what it was as I do
       not know what Dave’s system defaulted to. I am really sorry you have been lead to believe this is something more
       than it was, but will this help?



       Craig



       From: Ira K [mailto:                               ]
       Sent: Wednesday, 23 April 2014 2:15 PM


       To: Craig S Wright
       Subject: Re: Questions



       It doesn't look like a type font.



       There are 2 seperate contracts with the same style handwriting, but with slight variations.



       On Wed, Apr 23, 2014 at 12:13 AM, Craig S Wright <craig@rcjbr.org> wrote:

       Yes.



       The PGP key is the signature.



       The PDF just adds it.




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       From: Ira K [mailto                                ]
       Sent: Wednesday, 23 April 2014 2:10 PM


       To: Craig S Wright
       Subject: Re: Questions



       Are you saying that the signature was just computer generated, a type font?



       Ira



       On Wed, Apr 23, 2014 at 12:05 AM, Craig S Wright <craig@rcjbr.org> wrote:

       The document was signed using PGP. That is the digital signature. The other was a PDF thing that gets applied. It
       was and never was handwri en. The signature is the PGP signing.



       Dave’s interest is in founder shares in Coin-Exch.



       The sale of the so ware and its use leads to an Research & Development refund into the company. Coin-Exch
       receives the moved the so ware and uses it for an R&D claim. That is why it was done. This is 45% of the expense.



       That is what is obtained from this. That is what the ATO do not like.



       Craig



       From: Ira K [mailto:                               ]
       Sent: Wednesday, 23 April 2014 1:59 PM


       To: Craig S Wright
       Subject: Re: Questions



       Craig,



       It's not about information that they fed me. It's about contracts that you signed and agreements that don't seem logical.



       I don't understand why Dave would make that agreement with you for a business divorce. Why would a successful

       partnership suddenly seperate and leave one partner with everything of accountable value and the other(Dave) with

       only 10% in a future venture and a undisclosed amount of Bitcoins? And the contract (CEWK01 and CEWK03) is

       signed the same month of his death and without his real signature. Nor do I believe it to be a digital signature.

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       It doesn't even come close to his handwriting That is obviously a females signature. Things just don't make sense.



       Ira



       On Tue, Apr 22, 2014 at 11:48 PM, Craig S Wright <craig@rcjbr.org> wrote:

       Ira,

       Dave died. I did the ac ons to make sure that the court signed oﬀ on what Dave and I planned.



       The reason for the transfer is to use the R&D tax credit on the value of the so ware Dave and I developed.



       “I thought you appreciated Dave's contribution. ”

       More than I could express. This was not about screwing Dave or his estate, it was ensuring that we had something
       solid as Dave died. I did that ac on as accountants etc advised it was necessary.



       I think they have mislead you as to what this is about. There is no GST (tax) on the so ware Dave transferred, but it
       is being used by the ATO as an excuse to try and not pay other amounts that are owed.



       Craig



       From: Ira K [mailto:                                ]
       Sent: Wednesday, 23 April 2014 1:37 PM


       To: Craig S Wright
       Subject: Re: Questions



       Craig,



       The information I have to work with is what you have told me and the documents from the ATO office.

       From those documents it appears clear to see a systematic transfer of assets out of W&K back to you.



       Up until April 15 I was a complete believer in what you were telling me. But you never mentioned

       any of the actions you were taking against W&K prior to contacting us.



       We could start by going step by step through the questionaire the ATO sent me. But I really didn't think

       you would want to get into those details. I thought you appreciated Dave's contribution. Helping you

       get the government funding to start it all, etc.
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       If you have more information that I'm missing you are more than welcome to email it to me.



       Regards,

       Ira




       On Tue, Apr 22, 2014 at 11:02 PM, Craig S Wright <craig@rcjbr.org> wrote:

       Ira,

       I do not know what you have been told, but I think there is a need to go into detail.



       Andrew (CC’d) is a tax partner with Clayton Utz. I am happy for you to ask him anything. This is permission for that.
       I am sure he will give be er truth than the tax oﬃce. At least more of it and without ﬁltering things.



       Dave signed electronically. I have not ever stated that these are his. If I had wanted to do that I would have dug up
       copies from the old company ﬁlings. The ATO and the court had the digitally signed documents. There is a wrapper
       as the signature.



       Dave held his BTC, not me for him.



       I do not know what Dave’s resigna on is. You men on a resigna on, I do not know of one. I know what we planned
       – I not know all of what was occurring in WK.




       Craig




       From: Ira K [mailto                                ]
       Sent: Wednesday, 23 April 2014 11:49 AM

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       To: Craig S Wright
       Subject: Re: Questions



       Craig,



       Just as Dave believed in your vision and abilities, I share that

       same belief. There is no doubt in my mind that you are capable of

       achieving the goals you have set. And I am still in awe of your brilliance.



       However, since receiving the documents from the ATO and spending more time

       reviewing them, I feel like there are questionable discrepancies in the

       contracts between you and W&K such as Dave's signatures, his resignation,

       transfer of all accountable value, Uyen's role of Director, BAA projects, etc.

       No need to go into details.



       I can understand how you may have felt pressured to take actions to secure

       the business you and Dave started. And the last thing I want to do is

       stifle the growth of it. But I do believe we need to remedy the lopsided

       contractual exchange.



       As the Executor for the Estate of the Director at W&K I propose we

       reach an agreement that Dave himself would approve.



       Good sir, my request equates to peace and prosperity for all:

       1. Return 17% of the 323k bitcoins to Dave's estate.

       2. Retain only half our current holdings in Coin-Exch.

       3. Remain friends that avoid all taxing troubles henceforth.



       And I would still welcome you to attempt gaining access to Dave's drives.

       If you are able to find his bitcoin files I would gladly give you half

       and invest Dave's other half into your new business.



       Sincerely,

       Ira



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       On Tue, Apr 15, 2014 at 9:41 PM, Ira K <                                > wrote:

       Sure, that sounds good to me.



       Thanks.



       On Tue, Apr 15, 2014 at 9:28 PM, Craig S Wright <craig@rcjbr.org> wrote:

       I would love you to be involved.



       How about we add you once we get the tax audit out of the way and also get directors insurance for you?



       From: Ira K [mailto:                                  ]
       Sent: Wednesday, 16 April 2014 11:17 AM


       To: Craig S Wright
       Subject: Re: Questions



       Honestly I don't know. I'm not sure what obligations must be met as a director?

       If it jallows me to follow what's going on in the business, that would be interesting.

       But if you feel it's in my best interest not to be involved with it because it might expose

       me to legal liablilities, then I will certainly understand.



       Thanks,

       Ira




       On Tue, Apr 15, 2014 at 8:48 PM, Craig S Wright <craig@rcjbr.org> wrote:

       Hi Andrew,

       Can you help Ira with this please.



       It is hos le everywhere right now. That stated, Dave
       ...

       [Message clipped]




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